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5
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6    corporation
7

8                       UNITED STATES DISTRICT COURT
9
          CENTRAL DISTRICT OF CALIFORNIA- SOUTHERN DIVISION
10

11   LDR INTERNATIONAL LIMITED, a         ) Case No. 8:23-cv-00257-DOC (JDEx)
                                          )
     British Virgin Island corporation;   ) AMENDED DECLARATION OF
12                                        )
     Plaintiff,
                                          ) DILIGENCE
13                                        )
     v.                                   )
14                                        )
     SARA JACQUELINE KING, an             )
15                                        )
     individual, and KING FAMILY          )
16   LENDING LLC, a California limited    )
                                          )
17   liability company;                   )
                                          )
18                                        )
                                          )
19                                        )
                Defendants.               )
20                                        )
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23                                        )
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                         AMENDED DECLARATION OF DILIGENCE
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1               AMENDED DECLARATION OF RONALD RICHARDS
2    I, RONALD RICHARDS, declare:
3      1. I am an attorney admitted to practice before this Court and all Courts of the
4         State of California. I am the attorney for Plaintiff LDR International Limited. I
5         have personal knowledge of the following facts and could testify to these facts
6         if called upon to do so.
7      2. On February 9, 2023, defendant Sara Jaqueline King reconfirmed her mailing
8         address on her wiring instructions she emailed to me personally.
9      3. On February 14, 2023 Sara was texting me regarding this matter. She sent me
10        over a dozen texts between 6:32pm and 6:52pm on February 14, 2023 and more
11        texts on February 15, 2023. I drove by her security gated residence but did not
12        enter because I believed she was not home based upon prior communications
13        with Ms. King.
14     4. On February 14, 2023, she also emailed me as well.
15     5. On February 15, 2023 at 12:00 p.m. before lunch, I received more texts from
16        Sara King so I staked out the front at the security gated community center in
17        which resides located at 8500 W Sunset Blvd., West Hollywood, CA 90069-
18        2333. Again, there was no one present to allow me to enter the gated
19        community.
20     6. On February 15, 2023, at 1:30 p.m., I again attempted to serve defendant Sara
21        Jacqueline King at the gated community center in which resides located at 8500
22        W Sunset Blvd., West Hollywood, CA 90069-2333. The front desk clerk
23        approached me. I identified myself as an attorney leaving a federal summons
24        for Sara King. He brought me to another front desk in one of the AKA
25        buildings and I left the summons on the counter. Roman Surenovich is an adult
26        over 18 in charge of Sara King’s mailing address. He was of suitable age and
27        discretion and confirmed he would notify her. The summons and complaint
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                           AMENDED DECLARATION OF DILIGENCE
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1          were served in compliance with both state and federal law. (See Bein v.
2          Brechtel-Jochim Group, Inc., (1992) 6 Cal.App.4th 1387, 1393 [The person with
3          whom the papers are left need not be a member of the family. A gate guard at a
4          gated community or a doorman in an apartment building is considered a
5          “competent member of the household” (and a person “apparently in charge” of
6          a corporate office;) where they control access to the residence.].)
7       7. I also emailed a copy of the case documents including the summons and
8          complaint to sarajking@gmail.com on February 15, 2023.
9       8. I also sent a copy of the same documents including the summons and complaint
10         via Priority Mail to Sara Jacqueline King at 8500 W Sunset Blvd., West
11         Hollywood, CA 90069-2333 address on February 15, 2023.
12

13      I declare under penalty of perjury under the laws of the United States of America
14   that that the foregoing is true and correct.
15

16   Executed on February 15, 2023 in Los Angeles, California.
17
                                                                         \s\Ronald Richards
18                                                                    __________________
19                                                                    Ronald Richards, Esq.
                                                                       DECLARANT
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                            AMENDED DECLARATION OF DILIGENCE
